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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

         plaintiffs,
  v.                                                          Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/

                            NOTICE OF WITHDRAWING EXHIBIT

         Dr. Craig Wright respectfully notifies the Court that he withdraws Exhibit A to his

  Motion for Judgment on the Pleadings for Lack of Subject-Matter Jurisdiction [D.E. 144-1]. That

  exhibit is an email exchange between Dave Kleiman and Uyen Nguyen. Dr. Wright withdraws

  the exhibit because he cannot verify the date of that email exchange. Dr. Wright is not

  withdrawing the motion and maintains that this Court lacks subject-matter jurisdiction over this
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  action.

                                                     Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I certify that on April 18, 2019, I electronically filed this document with the Clerk of the
  Court using CM/ECF. I also certify that this document is being served today on all counsel of
  record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.
  Mail.

                                                                     _ /s/Andres Rivero
                                                                        ANDRES RIVERO
